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7/30/24, 9:32 AM                                                                                                                                                                     Case 3:23-cv-08089-DGC Document      60-2
                                                                                                                                                                                                                Mail - Krystle     Filed
                                                                                                                                                                                                                               Delgado, Esq08/02/24
                                                                                                                                                                                                                                           - Outlook Page 2 of 3

  RE: Disclosure of Medical Note
  Aaron K. Haar <akh@jaburgwilk.com>
  Thu 7/25/2024 12:49 PM
  To:​Delgado Entertainment Law <LawTeam@delgadoentertainmentlaw.com>​
  Cc:​Krystle Delgado, Esq <krystle@delgadoentertainmentlaw.com>;​Maria Crimi Speth <mcs@jaburgwilk.com>​


                          1 attachments (12 KB)
  07082024 Medical Letter - Dr Kramer.pdf;


  Krystle:

  What is this purported “medical condition”? Stress? Just like the last letter, this one reads like your client told the doctor (a
  friend?) she didn’t want to have to come to Arizona for a deposition and the doctor suggested he could help her out. And
  I’m not clear how your client could come to Arizona for trial but not for a deposition. As I indicated on our call, we need
  more information. This letter doesn’t hack it.

  I did connect with our client regarding your letter. We are going to be a minute because we are having to track down the 9-
  page laundry list of items you already have.

  When do you anticipate getting us your promised supplemental responses?




                                                                                                                                                                                                             Aaron K. Haar      ​




                                                                                                                                                                                                             Partner | Jaburg Wilk
                                                                                                                                                                                                                602.248.1025 |     akh@jaburgwilk.com


  From: Delgado Entertainment Law <LawTeam@delgadoentertainmentlaw.com>
  Sent: Thursday, July 25, 2024 11:17 AM
  To: Aaron K. Haar <akh@jaburgwilk.com>
  Cc: Krystle Delgado, Esq <krystle@delgadoentertainmentlaw.com>; Maria Crimi Speth <mcs@jaburgwilk.com>
  Subject: Disclosure of Medical Note
  Good Afternoon Aaron, Please see the attached medical note from our client's doctor. It provides that her doctor believes that due to her current condition flying is not an appropriate means of travel




  sophospsmartbannerend




  Good Afternoon Aaron,

  Please see the attached medical note from our client's doctor. It provides that her doctor believes that
  due to her current condition flying is not an appropriate means of travel. To avoid unduly burdening our
  client, we request an alternative means to her active participation such as video conferencing.

  Additionally, We are requesting an update as to how you'd like to proceed in relation to our last letter,
  since you had a chance to speak with your client since our last communication. Let us know if you
  need to discuss or require further clarification on anything. We look forward to your response. We
  hope you have a wonderful rest of your day.

  Sincerely,
  Ben Mashmoor, Esq.



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7/30/24, 9:32 AM          Case 3:23-cv-08089-DGC Document      60-2
                                                     Mail - Krystle     Filed
                                                                    Delgado, Esq08/02/24
                                                                                - Outlook Page 3 of 3
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